
703 S.E.2d 739 (2010)
STATE of North Carolina
v.
David GAINEY.
No. 531A00-3.
Supreme Court of North Carolina.
November 4, 2010.
Leonard M. Dodd, Special Deputy Attorney General, for State of North Carolina.
J. Donald Cowan, Jr., David L. Neal, for David Gainey.

ORDER
Upon consideration of the petition filed by Plaintiff on the 4th of August 2009 in this matter for a writ of certiorari to review the order of the Superior Court, Harnett County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 4th of November 2010."
